a   .                Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 1 of 30
                                                                                                                               CTRA 16", 1 INIA L

                                           314 '.CE]'s iJTf:C 'T'l's 'C , 5 T. A.7: .E : 3 I)E :3'TF;; IC.'T COURT                    RED IN c-umNIS) OFFICE
                                          FOR 7']3E . mn.'TH I ." FaQ 3) 3:113 I'll 3:CZ' OF GEORGIA
                                                                  A'rIarm I1 :IV:I 4• :E O21
                                                                                                                                              a~ iE   P ~' ~E ZOti,~
    GALL M .. REE S• F,, F'F2 EDIA HIN S O N ,,                                                                                   ,I~W1J=S
    zin ci 7'AA'LY :Y W I C K: F, R. a s ~:') u 3_ v:L v:L n g
    Childrena n ,6 GAIL                 . R E. E. .S E. as"                             ''T_'V']: 'L ACT ION                                  i1                       caCA
                                                                                                                                        00
    Ad mi. riist r.at,r• ix aif t. hE~ Estate Of
    Mi . J. dne ci rla rs ha .Ll ,.                                                     FILE NO :                                     ~. ,l
                                                                                                                                         .
                                                                                                                                        ..~
                                              F'1a :Lr.. t: ii.f s. ,


    BEVERLY ARE,
    FZ' E Fi.M 3 Y I.j I'.i.p.'.C I mf SERVICES, 111C ., ,

                                              Defenda nt .


                                                              F' :E7.' :I7.' : IC) N ]FOR ]ZE: 2d0VP . L

                 Petitioner :3e :ver].•y F:ealth and Re:'hzibi_1itzitiori LServic:e",, Fric: .,

     ,('.Beve -3 :,r") , ~ e.r•(~ L1;7                        Submits,         1_hi S PP e! 1_ i1_ ic) ri f o r           R emava :L aE                  the

    &-- t:ion hex-C! in r•e,fe:r3°,e ci                             1:c, from zhe                 St:at:e Court of Gwinne.tt
                                                                                                                    G

    cc- UCI               Ge O r g l ii , 1.C)              the United S 1=c. 1=E• :3 I)1 :3 t 2'l. C : 't Court                          j_Co r t: h E :

    N C:X th e•r r. . District Of                          G e!C) rgi,a ,     Atlanta           Divi s ion.,, zi nd ze : sp e c: ti. u .L ly

    S ho •wS t: C, the C'ou'rt the follc Iwinc• :

                                                                                 :L .

                      That             P E' 1=11=1 o rlE3 Y' N °Y' (:lIl , Beverly,                .LS     Defendant in it                    civil_


        i3C:1.]. o T '1   brc ) ucT ht: in the                  State Court of                  G W] . ]'2Il e t.i:   l .bllill_~',   GE-Or(~l<3~


                      E :Il t. :L t _L e (l     c;G; :i 1 NI _ ]te e s e l_ e - 1__ E 31_   V_ '___ F3 E V e ]_l )! _ H 2Zi Zt h_a Tl d


        Re hZI hd 1            tit t    on_!3 El :r%_•ic'e S_L_ [r L c__.,, C i vi :L 2kc t.ion. File No .. 07(:-_.2 :39 :i -




    1033 S 39317'.
                        Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 2 of 30




                                                                                        :a .
                'I'he • complaint wa s, the init.i al p:. .eadi•nq setting forth the

c: I a ira                   r e .Li e f upon Which t.1-Lis a< .t :.cn i . s o ZXS e.d . (A t : rue g rid

c:C z^ re,--t. copy Of 1: h(B ?4a1. i ce. of Removal- along wit:: Pla i.n t: i f f ' s

cc-r,rp7_a_Ln .t. .Ls; a 1 :t ac:h e:d hereto a f; Exhibit:                                                        ,) .

                                                                                        :3 .

               The ai.arement .ianed ac i.ior.. -was cc»T.rlenc e: d ]oy the f: i]. ing of the

(.c r1•c. 1 -a :Ln t. o n p.t1 cI1z S 1. :2 4 ,.                   :2007 .

                                                                                        4 .

                'I'll i is    F )e t, it: ion            i is     f i 1 e cL within i                   t. lli pc t y l, .3 O) d ay=;                   f acorn      thee

f_i 3:5t . cla ), t. E!         aE         service                C . if     the De ..enclan.t., pL :I: E: tzant i: c>                                :2 Ft 'U' - S ..C' . .

~~ ]. 4 4 Ei and             F . F: . C: . F' . 6 ( .a) , 2LS                     it: i" i` i 1 led wi 1 . hir. t: ::ii'r t:~y (3 0 ;I                             d ayz,

o f f :L l :i r. .g of t he ma t t. e- If' .

                                                                                        5.

                This Court, N1 E, juri_,sciicrti .ori over t .hi :; tict:ion pLCrc,UaTzt . to

§1 :33 :2 aE Tit.le .                       213        of t. he               Unii :e:d           1C>>.<<a: e: :7 Code bec.aussee t.]'lE:'CE : 1S

c: o r i p :Le t: e.         d•ivezsi~_y                 0E       ci -t i :zeM s h i.p                between                  .he P La in t: ii: f is a n.d

I) ei.e n c! a r L i. E. einc l              b e:cau cmD           ,        upon           t.lze j=ac:t~~ ~~leci                            :ire P l Ei int :i. f i.s''

Corn p :La. :L n 1 ; ,        1:   YLE!    El rn O llfl t .       in       CC) ]: 1 t. :CC)'JE: : Cf4 .~! E' :{C ' E?E: C~S~    ~~7~i   ,    l}OC}, f:}{C: ZL1S


Of       lI2 t P.Y ' P E: 1: a rId          (`.C s :; t. :; . '




      A Lt.]z o ugh                r.. o    ,sp e c:if:.ie: dall a r ci1T1C) 11I11=                              1 :s ID z• ZL~•ed               i= C, 3- iri t: he~
C arnp :LGd r d: , F]_ a i:nt:ii:f :; cl O                    S 3p e:ci .Eica :ll.y                                  Zi3 L°q le              t : 10 t.   -t 11 i is i . 3
            wrongful ck!aLUL act . :ioIz and s .E~elt t:hf~ fL.11 vZlltxe• Oi- t :he~ ~of,
Mi :lcl._e:d Ma r .~'h~~'1]_ . 'thjiE;, 'Pe:'~i.i:i~~ri~az- 11a .-, Zi gc~c~cl faith b1~].ie:f that :




 0 :1 -18 3 S ) 3 w :
                    Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 3 of 30




                                                                                                5.

               Upon information, and belief , 3?e:til.ion(ex• shows i: IL it t. the

C. -11 Il t ] _ o   v e-::, s,y be t WE. P_ r. the ]?1 i31]1 t                                             .L f `E:          and          i?E:1: ].1 .j.c) n PY'          :L s      ci


C: O Tlt] . Cl VE ']_S !~          b E : tWEE. [ 7.             C: 1 t . .1 2. e I1 ;3                  arid n °_ s LC le I1 1= s o f                    the SD t .i3 t. 1_°      o j:

Georgia (Plaiintifi`s) iand                                                      :Be:ve :rl,
                                                                                          I., ,                     a.     c O :rp C) rat . .icm in -C orp C:a:at.ed

unc3e 3 : t:hee ]_a Iq s                     C f: t . 11E! S i: G:t: e'                         jai. De] .,Rw,FU-e,                    kt .L t ll    .L t f3    pr•.:n.c.ipa=L,

J)1 ci C E : S 0j=         I7L'1 :3 111 E' 8 S         1. ]1    AI'){c171 s i3 s         .




               Upon in Eo rm,a t: io n a n y. b e l :iei=, P1a .irL 1: i :_`f17 we: re: sir the time ed=
t: he         CC)l11[ller1CE: R1E : ::] t: O f t.h 1. l3 ~3C: ': ].c)TI                                         at ':]Cl   f3 t :L1 I all-(a           C]. 1 : ]
                                                                                                                                                               :ZE : :: I :i
                                                                                                                                                               .                 and

3: , e S icient S3 O f             the 51:ZL1: e: o :E c3e: 0 z•gi a .
                                                                                                '7 .

               P P_t   .L t .L o I1 e1 _     Beverly was a.i: the. t.im e of the coi-nmence-merit : of-,

t:h :L s <a c:I.i ori              -an d      :st. .i3 :L i .s                  it CO zj) a 3°at.ion                           :zruC e>>_pc3 rEL tE.cl airiel e:r t. h e~

]. .arcs c.i: 1.hE!                  ;3 UR   t . 12 Of UB ]_,aw,ar 12                              ,        vi it.l-I       its        p rixi c i_ p ZI    1        lace off


b' U :ilIl° :78,         1I7 Azi {c; ]1 si3£. .

                                                                                                8 .

               The 'ITIe 3tt: E ' ].          :L [7.           CC)C1 t : Y0'VE:r :i ;Y' exceeds 1. r1 P_ Vcll LL (a                                       (7 f 4 7 5. ,. C' l) C, , .

E3. X(: Z11S :L V ' E. of          111t. E?Y ' E3st:            i trl ( l    t: O :3 t l3i             Mid. is it civil ZXC't:i()n L13-C-111-9-11t ill

it   :i C ci t E?      Cou Y' 1:     (J f t• he          lc: 1: o. i ; E: o j_~ Ge CJ Z' g 1                      ci , 44 h .L C' h          t. h e. i7 n -i t e o. E: f: 21. E' , 3

D i s t 3- i<:t           Courts have ori ,g i:n aL l j,ur• .i s dir_t. :ic~n
                                                                        :ic~n_t because of c3i 11 e 3_ r~ity

o f e : i t. :i z, en sh:i. F ) ELI-lei t . I1Et                            c. iri o11I'l 1 :          :L r..      CO n. t: r' o v e ! r'S y ' P-tx r 'S" u it n. t:      t, a    213

U . :3 . C . § 12- :3 2 .




1: hfa amount t .                    :Lr,        c: on iYz•0 ve~x• 1 sy E::K c :eec3 S, the $,7 5 , 0 -0 0                                                       t: h.3-esf:.old
                      Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 4 of 30




                                                                                 zo .
             leased on              t: h   e        C: io IIip   1 . e t. e   (31 'IEl ::'EI .Lt.1j    th at         ex- I :it :i    between al 3 .
part]-e
.> and                    1: tU B W ;1 1Ount: in                        C:Qrl1~Y'c~VPY' S~' ,, the p E: ]7CL LIlc3 a C. t ]_ c-ii is one

which Pet 11_             1 OtL!? Y'       ] . .3    'E Il C .i C l j° d      1: o   2'(? RlO V' E~   I: C 1 t.1-11.13   Court         llY'!3 L'ti3 rl l_   t C)




             1ATiE ;FtE,FO RE,,, Pet .LC :L One 3-                               that                 thi 'S        Petition          for      Remov,a ] .

be f :i] ed and that: s a :Lcl                                   ac t    is>n1   b, e~    removed           to and           proceed             n     t his


Court : and 1:ri,Rt. DO fezr•t.1-~e.r• gZ-cic.e-eclir.,gs, bE~ hack in the                                                           :5a id case in

t:'he: :3tZkte: C atzr•1 . O f Gwinr..e :tt:                                  Georgi~~ .
                                                                                .~ i~~--
              Re~s•pe~< :ti_ully t~ubm .iti .e~d t.~.:L E •~_~_ day of S)e :pt.en~oe:r, 2 0 0 7 .

                                                                                           .HNM:Eri,s          Fc   :e KRrr.Ei,•u,    LIA,


                                                                                     r,                 I
                                                                                                        s             1
                                                                                                                            OPE
                                                                                                                                     -------------
                                                                                           11 a v ~d ~C. AZa z°s ha ] L
                                                                                                     'Bar No . 471512
                                                                                           PZIt3-iCiEI M . Peters
                                                                                                     a Bar ;y o . 57 3 f 5 0
                                                                                           Ch r•is t.ian J .. Lang

                                                                                           P,t:tc)r.lle-,7s for . Defendants
4 0{)C• Sun 'Czusi. ]?laI z .a~                                                            Severly, 'Health and
:30 :3 ]' e' ~l c ' l1t 15- e- ea .3 t. :r e : es t. ,, 11-13-                             RE: Y lci b :L Z :L t a t .L clI] .-LC(
                                                                                                                             :Se]-v' S,,              Inc .
Atlanta, C;EB0 ::~ cr :i cL                    3 0 3 0 13 - 3 2,11
 (4 04 :1 15 14 - '74 1) C,




------- -------------------- ----- ---------- ------------------------------- --------------------------
:Ce:c3u•iz-emen+:: to a.nv~~ke 43i,Je: :rs ;it.y jurisdiction .




]. 0 33E3 3 9 311 L                                                                  .4
Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 5 of 30
                    Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 6 of 30



                               11N' THE -MATE Cov M OF' G1411METT COMM.,
                                            STATE OF GEORGIA



GAIL 14 . FZ];~' F. .SF: , ER IC D IFS Ei I rI ,50 N ,
and TAMMY WICKER aS Surviving
rc hilci .ren and GAIL M . REESE as                                       Ci VI :., ACTION
Adm _L ni si :. rat r ix o f the Estate of
M .LI d I e d Marshal L ,

                                 1?lairzt .if'Es,,
vS .

BEVERLY HEALTH AND
'REH'AEJL :C7'A7':COiJ :3E.13V .CC :1?.lc;,, INC . .,

                                 De! . Eencla rl+:. .


                    'hfOZ' :CC:]'s OF FJ-',MO%'J!LIj TO UNITED                           C010171

               14 "' ':CI('.E. I S       HEREBY GIVEN f that. Beverly Health and

R e:'hab il ta t an                  ;3e:rvic;~v :; , Ine: ., I)e f'e n d a n t in t .hE' at'O 4' E~-Styl(~cl

ac tiori, has filed in the Ur,iteec                                      'a' tat E. S   Di :strict. .13
                                                                                                    :t
                                                                                                     Ca-
                                                                                                       for the

No ft he r ri District                       E 13 E: c zr g i . .a ,   At ._ a n t a I) i u i :s i o r.,. a      N otice: o f

Removal of said action to the Urited States District Court Ln

<3 rcc ) rd .3 ri-ce:      wi4.h t.he: 1) rov .. s . arcs c) :E                 :?8 U . IS .C: .    § ;5      1 4 .4]. , 1 4 4Ei .

At:tactied hereto and made a -part; hereof is a true copy of said

Notice            of    ] .Re mc>va1    arid all ]PZI ;pe~ u-, Wnci           E!XhLbLts attached

               102S]DEK; t. E li L7.•y submitted this                         clay c )E ;Se:p t.en ibE'r,       2007 .




                                        j SU C.,1lA' T' CT41 : ON' .E'O. L1:OP T.IrA3 ]?AGE .]




1C 3?E 9i 5r
           Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 7 of 30



                                            13~~1r~~. ;IN, S & WORMEL : G,   L:LF'

                                                 --~        '/ r'^   \~


                                                          r~   /     J

                                                                              --------------
                                            Da vid C . MarshalL
                                            Georgia Bar No . 47150
                                            1Pa't r .i c: i a M . ?E: to rs
                                            Georgia Bar No . 573650
                                            Christian J . Lang
                                            Georgia Bar No . 4354 .3 .'
                                            Attorneys Eor ICE' EE' ]1dar l'ts
4000 SunTrust Plaza                         Beverly Health and
303 F'e2ic h t z'eE' Street, N .E .         Rehabilitation Services, Inc .
Atlanta, Georgia         .30 :30f3- :3243
1404) 614-7400




10338929
Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 8 of 30




     -E,XIIIBI'f "" .,A,"
                  Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 9 of 30
'. ,



                                    IN 17-T r ST MT cx) iJF .•r op- ii ,vi «vrz r1rr        r. o urtrr"Y
                                                    s T , &Tr 0 x• GE o RIC r ik                                          r   j,



                                                                                                                                        G) c~
                                                                                                                          zy
                                                                                                                          c-
       GAIL :1~4 . KEF;SE:, FRECIA HINSON ,xnd )                                                                  S                     p
                                                                                                                          ra                "
       TAMMY `h'l{'K :JEK as Surviving Children )                                                                         ~_ .
                                                                                                                  fn
       and GAIL. M . I•',EE:3E. as AdminisUnatrix                                                                         -t~           n~~ n
       Of Ihe; Estate ofMildre-d Marshall                       )                                                 ;c-)                  +~ c~ ti i
                                                                                                                  T                        c? `c5
                                                                                                                   rn                   r c_ m
                                                                                                                   n
                                                                                                                                            a
                          P ta   III 11 Ms,                     )                                                         <C i
                                                               .f
                                                                            Civil, P"ClIon File
       VS .                                    1                                                                 ., )              .~
                                                                            Jury Trial Demanded
       BEVERLY Y E[EhLTH,P .NI)                                ;~
       F~E .13la,IL1T10N SERVICES, INC.                        ;l

                      D°efen dku>> .              ;i
       ------------------------------------------


                                                          C() NIT     c.E   kmu




                COMES NOW GAIL M . REUSE-7, F 'RF:I)IA F[1TdSC) N and 1"AMM Y NVIC:1{ERa> E ~ [md Yir.g

       Chi ldrer, and -G j% IL, M . REESE, ELs adniitii st raiti:K of the estate of Mildred Mal• st;z ll, , PI3li31' f ff IIZ the

       above-styled ac tion, and hereby film this C:orrip ;iaint against D efE;rndint, BEVERLY NE-A.I;IH AWD

       REHABILITATION SERVICES, INC . and respectfully shows the Court m, follows :


                                                                     I.

                 ['RI I11 ,A I [ ] I'1SOTl , 'I'f 004S.' WICKER and GAR, M . FZE•f ;SE: as tie: a3m in'i ;;tra tt ix o Fthe

       estate Of Mildred Nf Msh< <ll,, 1dCc:exiCirt, and brings t1ris: sl it lca rem) very Of runeril arid i TiE:dic:al

       expenses, resulting, fi ci rn th e, injuries w id dndi of the decedent, and the pain and .,tidRrin g; arid

       distress fel : by the decedent between the : time of the iieglig E:fl l acts and onlissiaris,, and her death .

                                                                    :! .

                tvlrldred Ma rsha11'ssurviving rtiiHre :yaut i::rai1TA . Reese, J=rE.daE1irison and Tammy 'J1fic:ker.
            Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 10 of 30




There is no surviving spou s e . :Che surviving children an~j Gail R .e:e:.~e :, a~, .a3m i» sir3i:ci x ofrhe~ Ie s~ :ate

Of ]'Aildred Marshall, brings this SCt°bIl for the wrariglzil death and for the economic and non-

economic Valuc: of IfiE: life of U.[ildred Mmsr,2Zl .

                                                                   I.


          llefenclw>>, Beverly Health and Ret ;abilatat;an Services,                                (iiem :inailer re1e:ired to as

"F3~verly Health"1 at all relevant cinzes in this complaint owned mid ape.r<iGed Beverly Healtfa was

formerly located at 411`_• (i[t:n•wood Razcl, Decatur, Georgia 300 .32. Ths fac:ility, ii :s now known as

Golden Living (:ente;-at Glenwood . Beverly Health is an entity having 1--gal capacity to :;u-- Eui d be

sued within         -wiilneC, C ;o•unt;y,.Georgia
                                            Said L)e~fe:ndant may The With summons

and complaint thiough its registered agent C :oq3oratior Service Company, located at 40 Technology

lParkvv3y ,3auth, "I ;iiite 30C,,N'orcross, tleor,gi,i 3(i09.2 . :3aid df :iend,~7t is subjec,t tc~ dig . juri:~dic :ti~~n

and venue of this court .

                                                                   41 .


          At all times pert inert h e rE, w , Defendant through irs as en u, a.rYipScayE:es an d stivants, operated

F3ever[ y for the general public, and in parti cular hF:ld i; tsell"out as beial; ~~rapE,rly .~taf~i.d Nvii.h nursing

p E: ISG[llll: l who were (;A)maete-n t to c:arE: for the pat sen4s acl m itied to such nursing home fe.cility, and

r~present~.~3 the: rtursi[~g fio~r~E: vr~~s F roF~erl;y rnai»t~~ir~~~d b}'' i t':~ aclministrat~~rs ancl ;r~d~ to :kii;ely c~~-~:

for res idents by employing or a ih+. -rw•ise stifling competent nurses artci other medical providers, and

Iby I,l.S'i fl~; prac:e;durc~~ ~erie:c~~l.~ EC'C :E:plecl in the medical rcirnrn uriity . E)~,,~F:«a .3nc r.~E:ia ~rs ell~~~ut to 1~ ~~ a

skill-.d nursing facility .

                                                                   .15 .

          O n May 9, 2Cit) :i , 1%4s. Marshall mwt seen in the emergency room fa : what her family thoug ht


                                                                   -2-
           Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 11 of 30




mri a stroke . During this hosp'staliz,3zicln she was diagnosed with brain cancer . Prior to that tune she

lived independ-tritly in at retirement community .

                                                                 6.

          Because Of [Lee prognosis, h44s . Marshall was admitted to Christian Ministries (Odyssey

Hospice) . ]~~Luing, her stay at Christian Ministries, Ms . Marshall d U-0el0ped 8. ibedsore that beilled and

her              condition it nprove d t o the level that sties no longer met the requicerner.i is for hospice care .

                                                                 ..

          As   i e-s ult Of h er   improved   m e dice I s U tu S, ]'4s. Mars twill 'WAS tr< U r>;fi;zred to Beverly for ski I [e:ci

nursing care ard required total care fr activities cfdaily living Het]?'ssrharJ;erfrms :ferAssessrnPnt

noted! that her s1: in was dry and .
                                   intact

                                                                       f>.

          Mi Idreci Marshaf l'became a patie nt of Beverly on August t .2,2005 . By Augt.Y S,t F :5, '200 S, the:

1Fair[ily V,-, s rt,qucstirg that Ms . Marshall b (; tri»sFE :iTed due Icy the lack -of Till rsir. g care and rapidly

p, «i5re:s :;ing de•cubiti ulcer . IH'er admittingdia~r,c~s•es ~e•re ~3r~in C~~~cer, Hypert~~sioi~ znd Diabetes

N(ellilus On admission, the pt;,y .,iciaria»'dered duodenYt to the sacral wound, five (5) to seven (7)

day:;., as need .-d .

                                                                 6.

          On August 1'1,;, 2CEO:i., Ms . P&u st<<<l l had developed a small p ressure .
                                                                                      ulcer '}1-m admitting

notes did nay , srag e herp ress w-e ulcers. It was also noted that Ms . P 4aISF I'c I II needed total assi:>> arir. e.

with, all of her acti vine :,, of daily I iv i ng .

                                                                 7.

          7'hi~- information shouldhave placed Reve rly Health On not ice that 2~[;;.Marshall was a ttug ~i


                                                                 -3-
          Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 12 of 30




risk for developing decubirus ulcers

                                                               S.

          Despite this iinfio e7nation F3e•ver;l}' Health, by,iid throe-€
                                                                  ;h i ts min;e:s, agents arid employees did

net properl}' assess Ms. P14arsHll as being at high risk fo :-deve!lopmerit o ;F-decuhit~as ulcers . Rasher,

the notes are Nro i d of any assessment .

                                                               q

          :Sut) ., FCil1A 1'11 to August 12, 2005, un :il Ms . Marshall was ciischuged ririi admitted to WE•stbuy

Nursing Homes for trealment of her s:»n$il:iori5s including pressure ulcers on August 22, 2005 .

fBeverly Heal ;h taiGcxl to adequately assess MS . Ularshall"s 'risk far development of pressure uLc:a.r.,,

failed to cc•nsisteiztty provide turning and repositioning and other measures to pielient the

devE :lapM« :m of pre:~sw~~ ulcers and famed to ronsi:>leritl ;y provide care ad Teeatment ft-r pressure

~ul~~~~r,; price sueh~ ~aic,ers ~exi:~le•cl . El)rlLi.i,sust 2i :, Zi)135, rAs . A4arshall deve-loFe-d u1a:r: ; i3a up;persaeral

bucocks

                                                                0,

         Nt,3, Marshall was admitted t o We:;ttrt»3, Nursing l-lo m e o rt August 22, ? 0OS for ,fiij-t}i e:e•

tm3tiricnt .

                                                              't 1 .

         On August 24, 2005, iMs . Marshall died at Wr.sibiu-y Nursing Home .

                                                              12 .

         Subsequent to August 12,2005,-until I&. Nlacshall was discharged grid admittedto 'Vest6u^r

on A ugust 2 .4, 2005, B everl y H ea ftti , by and tJzro ugrh i re. nurses, em ployce•s• and a gents, failed "o

adequately assess             iti'Iar>ha '! I' :s risk For development af' pressure ulcers, failed to c onsist ent 7y


                                                              4-
            Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 13 of 30




pto`ri dt: turning and r .-positioning and othumeasures to prevent 1 he dei,-c,lor,rnerttoi--prt .-:s.-;tl;-(,- ulcers

asld failed t • o ronsi ,>te ntl ;y pro v ide we and IreaUnenl for pressure ulcers once such ulcers existed .

                                                             13 .


          Be•ver,'LY Health by and through iI.:, nurses, agents and erYipPoya:e:>, did rent proper1ya .sses:> Ms.

Marshall' as being at high risk 1:nr - deve: lo prnent cal"dec u bibJs ulcers .

                                                             16.
          Al all time::; ielev2 .rit herein, dE :fieri(<uit Beverly Health was ifie ariaal and/cr oste115able

e;npYoyer and provided its facilities, equipment mid supplies, wid employed or provided as its

apparent or a crua l e ;7 i13 lo;yees, nurses, Certified Nurse Assi :>tarits, and ether medical ersonr ;e•l ws its

agents in I h e : care an d treatment af']vs. ;M1.arshall quid is lia'yle t,D l'lai n ti ffs' 1crr,3[1 rc,cti o'Li s acts arid

orriissions ofal I such persons .

                                                             17.

          During s he care and r.Ie2, tnue:nt c )f N4s Marshall, Defe n dart                  Bev rly 1ie elth was i equired, to

                                                                                  .![
c,fTer the care and skill of a 5kilfed nrsing ; facility and nursing staff exercised
                                                                                  ;( genera
                                                                                         when

t•E:<iling; pat ienls like. .hisMarshall under the sar.u Or sirnila.1-6ic:inristances ofthose Thai existed -at

the time c+f her c.-we and treatrnent .

                                                             is.

          Beverly Health deviated fiacn the starclmcl of i,x-E: set forth in the itranediate'13, preceding

paragraph il d i, ts c;i TI pla3lees failed to exe rcisc that degree o :`care and skill req uired of :rhe nursing

pro fi ; : >;iari ill general y failing t o adequately assess N Zsu Marshall's risk f3rdevelopmentefpicaure

ulcers., failing to r o nsis tenSly p ro vide turning a:-i d repositioning and o ffier m e .as•arr:s to prevent the

de vel o prlent n 1 "pressure u lc: er:s and failing to c .ansist ently, provide c,3;<: and treatment o f pressure


                                                             -5-
            Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 14 of 30




LI ICtiS once -such pressure ulcers existed, despite having inSormaT i DII t hat sflO11l CS have alerted the staff

th at Ms. N i;c.-s ha!'! Chas   a high risk patient .


                                                             19.

          To a reasonable degree of medical certainty, had Beverly Health riot deviated .ram the

                                       Marshall «+culd n ot have suffered the                                         she

would not have prematurely died

                                                             : 20.

         Pursuant to e3 4C.G.H . §4-11-9.l, Plaintiff ar+ac:hes hereto as Exhibit "1" and ir-.c:c>ilwsties by

reference the aff ci a v rt Nadine 77 uo ma:;, R1J a duly gvfl ified registered nurse, competent to te;F~

alleging at least one pwtirular act of negligence by Il :fe:»dant Beverly Health .

                                                        , C'OIJ yf 1[
                                                             21 .

         P l<'tiriti ff adapts an d re iterates paragraphs l.•20 ws ifs e ; forth fully herein.

                                                             :Z 2 .

         As a -di••err. ;and pro .Kiiriate result of die negligence of C?efe :rid,i;1t Flcverly :Ede :alth d,!viai'iari .df

the standzud of csre, it result.-d in the death of ]A:ildred Ni .irshatl .



          Plaintiffs are entitled to recover the hill lr,lue of Ms . Marshall's life from Defendant.

                                                        C1Ca1U P1 i' It

                                                             24 .

          Plaintiff adopts and reiterates paragraphs 1=1.0 as if se4t for the !ally herein .

                                                             :Z5.


                                                               fi--
            Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 15 of 30




          As a d u ec:t and pEuMrnate result of tlie neEii4n .ncecFf D e f endarit Beverly Hei~th Care, X44 ilc :red

Marshall suffered severe pe- [.i011 3l L r~ju ;ies, pain and ::l1 ll e [i17gctIl d -was IOlGE:LI to incur medicalwid

ilunera'' expEnses .

                                                             26 .

          As a rE•:.ult ; E'laint(ffs are entifted to recover on behalf of the estate dw-nages sufficient to

compensate the estate fir h4s . Mnarshal['s personal isij ties, pain and •,SUf1'eruzy, medu:IL1 expenses and



                                                       COUNT, III

                                                               7.

          Plaintiffs adopts and reiterates paragraphs ! - 21) WS i f5et forth hilly herein

                                                             2 8.

          ]Ge :terulant Uc ;ve„1}• Health's acts arid omissions in ffie cwe and Lreat ;7ieni oFMildrecl Marshall

w ere c;m e:less, m6 kl e:; ;; ari d negligent ar icl demonstraten •ill ful, wanton rn i ,ro nd u c. t or a n e :ez r i re wart

of eare such as l o raise the presumption oFcorl; ;c io•ms i n diFleaer. ;c:f: to the consequences ent i tli ng

F' lain t;i ll Icy punitive dairIZZLgeS .

          }.;']H'E I-LGFOIZEI, F'lai .Itif Ts pray :

                     1 . That sUmr,ions and process issue on the Complaint as requirtcl by law -to be

                               served! upon c[f:ie:rul.uzt, along with 2: copy of tfi~e complaint -.Ls provided by'

                               I ;3'µ';


                     2 . Tlsat issues here be tried by a JU[y;

                     3 . 'That Plain :ifFhaa~. jucl~;rr,e :nt ,agai»si' DeFe»,Aant in ar aniour :t in excess of

                               $10,000 .00; a.n.j

                                                               '~ ..
               Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 16 of 30




                           ~~ . That all cc6ts () f court bf, taxed against :CIe:feridMIt.



   R;t:sp~.cdiilly Submilf~!d .



 / '~^+~

                69 L
±Im4fla IS . ;itep hensan 11sq .
 Georgia l9a.r ri`o : 679558
 Attorney fc-r iPla:~ ritifi:~'

  ~~le•~~h .:as~n R .e:,~zolds, LI,C
  41 :i 3- C       Hat '11; fir) als Park Nvay.
  Suite :324
  Decatur, Ciewl" ia 30034
  7'e.le~~h~~ne : x{1)4 :?43-02{~0
• F'a c:s.imile• : 404,2437-030-7




                                                           -8-
          Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 17 of 30




                        i r1-r m; s T p.-rr    c.olum, or, c.•mNRv i. ur roLw ra•
                                                        oi.,   c~r~~~~iG f.4                                       P     .,-,
                                                                                                           -~
                                                                                                           37                    ci 7
                                                                                                                                   riTV ;tl
                                                                                                                                2.31 r-
GWL Prl' . RFiFIZE•I)[A F[]?JSO N and )                                                                           rv            iii :x , m
TAM MY WICK ER as, Stiri,iving ; Chi]in::a )                                                              rri     ~:-           c>;   ,
                                                                                                          .~ .
.and' Ci,A.II. M . REESF: as Adrninislr3'FI1K }                                                                  -z             o,i~C
                                                                                                                                c. -. a:
                                                                                                         C')     .s
Of tlt-. l:staie' of Mildred ]v(aj•s,hall )                                                                      ~. ~
                                                                                                         . r;    f\J
                                                                                                                 ~, L}
                  Plaintiffs,, )
                                                                   Civ il Anion. File x'10.
vs                                        )

13FIV'1:R:1 .YHE,AI,'CH AN D                    )
]ZFiHARMi'CION SERVICES, i]\ C .

                  Df.l endant .                 )



                                AFFIDAVIT OF1NADINE T:E Tn M A                      RN

         Personally appeared - sFort; the urzsie :; ;,ig , rie:d officer d-a ly aub-D ri2%:d by the laws of"•the stale O f

Georgia 1o adiTiiriister oaths, Nadine 71-iomas, FuSf, -who after :firs': being duly sworn, siaits the

foil ol,yi n:

                                                           1.

         My name is .Nadine Thoams,R,\f . I ,,ur, over tbE: age of 18 and competent in all respects to

;ti fy the -matters herein .
re-,

                                                           2.

         This Affidavit is given in support of the above- referenr,eci action as an expert witness on

behalf of the, Plainti ff herein .

                                                           :3 .

         } am a 1' egis temd nurse licensed o practice nursing in thf: State of Georgia . Lain ofthe a ge, of


                                                           .4? .
           Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 18 of 30




ma-ioc it y As a rf;g ister .- d nur.w,1 w7t a ir., e:rnbe r o f the same praf'essional .as the nurses whose con duc.1

is.,at issue in this lawsuit . I have actual g.c1,ressional knowledge arid exper"ierxx, in the zrea o,F ;pr,actice

or special,`}, in which my opinion is given in this affidavit, as reflected in this affidavit quid in my

Curric ulurr ; Vitae, whi ch W is been attached hereto- ;a zi d i n c: oqx) ra le d herein by re L-rc»ce its Exhibit

"A' ' . At the time I signed th is affidavit,
                                        a~i t, I urws licensed by -wi appropriate reptilato-re agency to

practice my pro :Fe:ss,io n in t he ,.tat.e in which Pwat-s practicing or teaching in that profession a,tthe crime

I signed t he affidavit
              .       I ,gym qualified as ar ex pe rt by v irtue of my k na,x•ledge, sl:il[, experience,

t;~,,d rdn g, and education regarding the issues ri i s ecd in the affidavit. I fur, qualified by virtue of

knowledge, skill, experience, Mi iining,               education 10 f;ive • opinions regarding thee a ccelp tFib If:
standard
           ofca- e and cor, d iic}t e xp ected o fthe pcc fess'sc3 n.31s whose conduct is at s ,ssi s e ii this .
                                                                                                                affidavit

 I have actively practiced -in my area of specialty fir at least three of"the last five years immediately

preceding jniy signing of this affi .javit, and fir al leasl three of the- last five ;year : s immediately

p;-c:crding the everits t:por; Nrli,c:h I air. rendering jai opinion occurn .d, with sufficient frequency to

establish a r t appropriate level of l :cnaw led ,ge in p .mFoiTni :ng the proeeduie• , diagnosing the condilion,

or rendering t he treatment which ~~5 alleged to have been pt: rfC+ITr1 ed or ICi1 d t:Te d negligently by t h e

professionals who-se conduct is at issue in this affid'a[vit

                                                           4

        The facts i n this case upon wh i ch I base my oLai» , cans are oi" a ty p e: reasonably t el ied ii poia b;~

expects in our pirticul,3-- field .

                                                           5.

         The testimony I have given herein is, in my opinion, based urn su;ffiN-iE:nrt fa-:L; or -data,

'Which should be aemis,3ible evidence at any hearing or trial in this irrnttrr . The testimony 1 have
           Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 19 of 30




given herein is the product of"reliable principles quid methods, and I have applied those ;principals

and methods rcliably to the facts of this in -wriving at the opiriors t express hemrn .

                                                               6.

          In preparation of this Affidavit, I have reviewed and rely upon the following the meeicai

rec: ords o F M i'! clred Marshall at C:Ivist hui Ministries E[o.;pi cx.-, l3everl:(Fl~:,3 1 l}L ;D. nd 'NJestt)i.Lr;iMec Teal

Care Home .

                                                               7.

          MiF dred Marshall be came a patient of Beverly Health on Av =X ist -12, 2005.

                                                               .B .

          On a d rni ssi can , ;'G'Is Marsh all had a h istoi ~ r of cit he r healed pressure ulcers . ]t was als o noted
          C

tha t 1v[; ;, Marshall needed beta] .as•sistan ce vith al i of her <<c: ti •viti ~5 of aaKY Living.

                                                               9.

          This in Fi) miation should have placed Beverly 13ea[ih or notacX : th,3i: his . R'Iar:;lzalkvzs ai hij;li

risk for d eveloping d ecubitis.;f pre s sum ulcers.

                                  `               10

          Despite this information Beverly Health, by i nd throe €;}t its nixK;e::, zgentswid employees (lid

not properly assess Pal's, . Marshall ws being, at high :risk for development of de :c:ub :itus ulc ;em .

                                                               I] .

          Subsequent to August '12, 2005, a
                                          until M s. Marshal I wzs, d sc.h~u~;ed ,and ii Ij171]ttE.(~ to Wf . S tbU ry

1v[ edic; al dam Hmn e, Beverly ;H:e:alt°n failed to, adequately assess Ms. lVa r.>h,3li':s risk for the

development ulcers, fiti1ed k• con 515 i :en tl y provide turningwid repositioning

and cither c ne:as uir.sra prevent t~e~~svel~~ , pnz e niofd~~c .ub itus/p ;;c;,,s t~e u!'c:ers auid failed ro cor,s i six•ritl,y


                                                              -11 -
            Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 20 of 30




provide care arid treatment for ulc:E:is once such ulcers existed .

                                                                12 .

          Sut-se•quinat lay A ugu st 12, 2(10:1, until J%vis. Marshall was discharged acid admitted to

Westbiuy Mrciicai Care Home on Augwt 22, 200 .5, Beverly, by and through its muses, employees

arui age-rits, failed t~ acie~~uatel}~ass~~ :~:> Ms . h4ar.flz•311's risk for dE:ae:lopi-nent oaf pmssw-c ulcei .-s, flailed

to cons islErlt[y provide C .tmin ; ; 2:rid repasii'iocing, -and orhf : I ]Zll: : lill"E:s to prevent the: development of

pressure ilfc :ers, and failed to consistently provide care and t l'E:al T ;l ent f ar                  e : ulcers once such

ulcer.; existed .

                                                                13.

          Ms. Pf'zu sha ll was transf~r7ed to Wt:;;ebury hs !dic;i l' C:<ue• Home on p,il;gust 22, 2005, ~n'ttE;ce;

sh~~ remained a patient until her death on d4ugust :24, 2{)A.S .

                                                                18:.

            am familiar with and have psrsonal knowledge of the standard. of care required. ofa skilled

riiLrsinF; facil ire a nd n ursi ;ag staff ex ercised ~;f:nf;i <<l I ;y when treat ing pa tiE:n~'s like A~1s : D~Sars hall: ~a.nd er

the same or similar rirc um slaru : c -s as t h ose thci •: existed at the time o fh e r               and t,r f;a1ICZe CIL .

                                                                ! '9

          D eve rl .y lleal t}3 deviated from guid fell below the relevant standard of can s .rid i ts employees

failed to exercise that degree of car and skill required of the nursing profession in general by filing

to adequately assess ivy s . Marshal I's risk For d2velopment of'pre :>sure ulcers, fadling to consistently

provide i:iunirigarul r~~posirior~ing;,~zd otE~f :l ]TIE:ii:iill'f:.~ to F~reverit the:devel~przentc~l'~~n . :; :;in•i : ulcer;~

an d failing to c:c»zsts tently provide: care and tr e.-ii:rnerit of pressure Ulcers on ce sUci1 pI'es:,w e: ulce rs

existed, despite; having i} :ifon7iation that should have zIerted the staff that less . M,3nha}t w-as a high


                                                               .. '[ :Z-
            Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 21 of 30




risk patient

                                                       t: () .

         This Ciidw-i t i s based uj3on my personal '1cnawle:ci,e and -upon •rn:~ review o E the

afiamme11 t 1CiIlE,d records . I t is nDt the ]purpose of Cu ;; affidavit to ;se; firth each and every c:iitic•ism

that I may have now, o~ may have in die i=uttre, based upon tanlkE ;t review of the isdbrrnat :oii

c9rrc .eir;ing; C1° care asicd trY .atEnerit of MSl•3reii Niarsh-all ., udic;s•, the T~iupose of affidavit is to

~;.ompl ;s~wi th~]i~~regLi r~s: :tien~~ofC) .t~.G .P, .?~9-'1 1 -9.] forusei-i a.c m mpan.~ingthe Copaint filed £n

ilds at .rion .and-             [t        i     s   in-Dt            i•ntt .n-9ed 1 c)encarngo:ss -,dI of

the opinions lie] ci by' rae . Rat}ter, as discovery progresses, l reserve -lue right to modiEy, alter ac ;foizn

ELclditional apiivons.

         FURTHER M-1 =L41'dI' cA5T771 i~r()I', 1tus ct~ ci,ayoF ~ ,. ,, -, :!0:)7 .




Nadine 11-iomas


Sworn to and ;5l1 b 5CCl bed tx;fo r e: nie ,

                                            2007




 '        FL`~1JC,Y}~~YACOi IlIT(( EOW
     1w rva 1tufflAww12, i 011




                                                        -13-
             Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 22 of 30




                        3 i5 : 5I 'rifo, ;es a :'hi l- 4;lTc nUrtod, -,',A J 02 94 -1'404,1240-0576 ° rkonm.rl 6lS`~Tb tQ rov t~ntl


(D E3 .] -EC'i71/ E
A J°•c~`es.r fan•c11_ ecrders~i iEr RaLr that will utilize n;y expert m e• in Operations M anag ; eme»r, Co m rnunii )'
R el a ti on s, arid 1-Ic•a llh Care Leadership in order o
      ∎     Analyze p rcx ,ess es and evalua t e resources t o sirucru re operations ]'or rnaKirms.T- efficiency and Ofec-tiveriess
      ∎     Develop innovai ti v e • solutions t o patient ca re challenges ioc lUd l :'Ig new services and redesign ornur-sing care
            that improves quality
            B-csiF;n and i ni tiat e wi (Tdcvc"ap me n i initiatives r F,at increase m otivat ion and productivity
            Provide leadership fist positive change to enhance operation!, »rid influ e nc e achievement ofaq-1nization's
            oIJ eeti v c


i=cm-Cfi,7-roai

%iaI' de in U riive • rsi •[? r                                        Baltimore, MD                                  177 1'?I)0 7
A1a 5tp^_. Cf P nMic: AdinrnrStiGiliOn L7Oclr Be

f:ll w,O to n College k ;State IJni 'versiiy                           NlcuMOIA', GA                                  l .t,l2l)+13
                       LIN711C P[111-Sing

Georgia State i UriEve -rs i •hf                                       Atlarta, Ok                                    1 '376- 1 '382
1~3~:~`1 °(Ol' i7f ~~C7~°~7~7; ,PS,VC~halLr[l}'

E:d i:~on Community College                                            Fort FL                                        I)-1,x :19 7-4
  :s_zxoiM~ 0l' .5oercrDepiee Nursing,

lac e: n :;ure SXE:rtificz ition:
IZcq7a •lerqJ Nur_w                                                    Georgia                                       Ar-1 io_
/7~ a~is leng~ IVu~~e~                                                  Florida                                      ]'nacthfe :

{ i RO IFE SSl: ONEiI_ f ::(PEFU; l:IVC : E:
                                                                      -------------                       -----------------

l .egaxy PO[ cdical Center w f Aitlan ta

C :liie(11 lrnsinw WceiG'P FG t~en1 Services                           Atlanta, G A                       '10/ 2005 -- Pr escn t

      •    N:,pcm3ib'Ie for thec,pcritiois and manaF ;enzcnt oflhe drf?ar;rnent o1'iiursin> ;, paticn : services,, and 7.5- IGG
           e:rnployl C S in, RIC ' CI i --il/;,urgica-I., .:mere;e tlC} 'ISItTVt( : CS, surgical services, olx :patients C lYtC~ C 'i, criti<:a[Cam,
           women .and in1 ant : ., Card iopu lironare , pharmacy and nursing eduCation .

      0     FZesFrcrosihle for the :facililation in aa l•ji rinF; slate lice•i•sure arid CMS accreditation for a new, facifi: },

      ∎ Planned rind developed clinical services for a 1 251x :4 a .-we c are faci l ity i n eol labori tians, with othe r se nior
         members

      ∎     Developed , imp l eme•r-u-A, and evaluated ;polFCres and piocedures for a l l cl i ni cal and patient e rvic es

      ∎     Developed all job descriptions and pcrfOiTn11ice : evaluations IFbr2it cIli,i,ca[ and patient sai,iaes

            FLe-,ponsih! e for interviewing, hiring, and training of clinical and patient service staff
                 Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 23 of 30


N AD Q ae'f I IOM as                                                                                                                           2

      •        Maintained        ajid enforced ax>rnphaiicc wi I, scatr, f. iier al, and accrediting bodies by monit oring opera r ions
               and iniriarin ; changes where required
      '∎ Daily collaboration interdepartmen tally
     ~~ Facili l a t ed and organized the ana l ysis o fcoi e processes to idem : ify opportunitirs For imp u v emrnt in
              clini lM l processes and se i rice deh m iy i n enllabora': ion w „t l i appr opri a re : :eri io r stair
      41       Develop-Ad and i mp r eme: nte J division budgei
     11 Coordinated, p l ari r. ed, assigned , an d directed work
     +'        Responti '. E1 e for the pe ir loriTSnce appraisals ; rcwaiclin ;; and dis :ip fi ni , zy employees, addressing and
               resalv ingcon ' flic• ts en collaboration with .;h c department            f hum a n resources .
               Assu m ed i ri o nthlJ, a di•i inist i-at i%T C-1 . It ,aRer hO urs

      ∎ Assu TU•c l tic d wii:, s l id responsib i l a ies in the absence -j f CCO


 VP of CiovernnrPnfafl R,ej;ufa •t,7 ry . Aja v-s/                                    At l ava, GA                    OM005 - 1 042 CO 5
Corp oiar e Compliance



I;eorgi
 ,      a Gereral Assembly
:iiale5enara, Di~trtr.~' 10 (Member)                                                 A t lznta, GA                    0 1 (1993 - 01 tt005 .

State k'epr.e:; e•riror,ve, BIi.uric r 15(h f,•rnbe r;,                              .At lanta,   GA                  0 1! 1 SK9 1 •0 111 99




United fleallf ca                re       Solutions                       Ellenwood,                   GA         V2000 . Present

Cow.-. tdfnnG'i°. -in cip n1 .
      ∎ Provid e d cgnsu i ta fion t•o ! 011;~ -trrm rate organizations on (eclera ' and st ate r :gulatory compliance issu es


      IN Assessed and monitored organiza :kmal compliance

               Developed a n d 'Irnpte• me nl ad comprehensive quality assurance pogyaTS .

      ••       Responsible brstafTde velo pme i i i ;ir2 H, rF;,and!t ,i ff cari p!' i mre .

      ~~       Responsible for the deve l oprv:nl and imple• rw-ntation of' co mpan y bud g et

      41       fie sponsib lc far an d pe•r foitncd ski n ass essc ne 1ton r ursine hom e re s d c nt as reauarad

Cr7cl y           Health                     System                     Kr l 3»t a , CA                            1 0! I 594- `_x/2 040

Dirrnor, C arnmu m t), C}u .r ench

           • Responsible for the : Id ai l ;y a E• e ration<_.._ OP the: department -0 c aor3iriat cn of .3f S community outreach
               programs

      ~Pl arrr=ccl and facilitated community advocacy 1 ;i auFs for F reser.t.W,an o f haspiia l bud g e t Id b ot h the I'ulto n
        a id [ )o lCa[b County [ln.u d ofCo rri rni5 5i(rnc r 5



Refewnc: e K, ava il a b le upon request
               Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 24 of 30


NAD1Ptl r- '.CHf OvIAS                                                                                                               :3



      •• Ck:NTd DI rod and implemented c!' eparSmental policy and pro ce d ure,

      u      De:vt RO ', titd and implemented d epartmr ntal budg --I and sirar egirc plan

             C :c O rduiatcd a nd provided health promotion presentaun M . It• C aca! cD :r i rnuriity groups



      0.     R espons i blc ! ' or performance appra i sals and paining of staff members

Clinical Management fi h tory
-------------------------------------------------------------------=-------------------------
S pald i:n€; Regional Ho spit al                                      Griflin ., Geor l ;ia                     P 0/2602-A: 317005

.Rdnrtnisf rai ' i•ve 11'i irsurg, Suvernisor (P.Rl1)

       11 Managed and Coordinated hospital w id e acli •v i ry in collaauruinn with Aclrniri isi rar ar

             Mana4;rd a!I ad m-r istrau•ve k.SutS aPCr Fbt,•r in collaboration with ad mjnlS t-adDr


             ResponsiEl ~e G31• scheduling i n all c• lirii c al areas in cot lab oraiti on wi °h man agu s

             RespOnsiElr_ for ensuring t hat safe cl i n i cal practices arc mainta in oJ by both :stafl' ai nd phys icia n:.


             Provide support to s ;a fF, patients, and. families.


             Ass i stst .iff and inedicalstalT with conC iv resolution

      ∎ Provi de counseling as, neu de~" 1 •c , ::tafl ; patients and families w; ne +: d e cl

             D ri -going; a :zmrnunicat i cn -with Physiciaris

             Res ;po nsiblc t;)r be d control a Per h ours and wc r.{m r id s


Piedmont 1--a we tt e 1l mpital                                       F ay e tt ev i l l e :, <; A   (06/2 U) 5 -• 13 2,'2 006

.1 dntinis r rc rtiv cr .M 'u 1 s rr,~g• :ru)x »iror iTJZV1
             M .uiage and Coordinate hospital wid e a ctiv i ty in call abo ra :ion w1h Administ r a tor

             Managed all administrative issues after h ou r h collaboration wit h ad 1r1iz[sU-a tor

      • Res poi siblE: fog s che du l i ri g ; t ri all clinid. al areas in cOi ll h oiar, ar, 'with managers

             Ensu re that safe clinical Practice is maintained by staffand physicians

             Provide support to staff, patients , a: r, cl •Fa Lrailie s

       ∎ Assist staff and medical staff with confli ct resolution




IZefE?renms, available upon request
                           Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 25 of 30
' . .   ,


            N A, 1) l N E: TI 1 C1 Pb 1 A `. ,                                                                                                           4


                   •      Provide Counseling as n c• c cl ed to sta ff, pa t ie ,w s and Fa m i lies as rw e d ed

                   •      On=5ouig cnm r.i ;rii cation with Physt . .,ians

                   ∎ Res pon s ible! forbl:c 9 control after hour. ; and vam kend s

            Soedhove- sl 'Hospital and Medical G:nr er                         p , t! << rita , GP.           0         V 15'90 . . I D! 15 I5 1 4•
            ~fdrninrsl~ •arrve A' uncing :Silpelti~~crr

            Crawford L o ng 1lo ,;p ital                                          Atlanta, G P.                            12" 15,77 - .10 S 1 Ic I Sb
            1Jws i.h g (hnr (:oorclrn al ni.

             I.gIcst on Children 1{os;prtal                             Atla nta, GP,                           1115 ' 7' 7' .. 1"s ' /1977
            ~;tg~J ' <7h' ~ Nursc

            la. r. 117eR os ial } Ios p ita l
            Charge
            . l~'trs.~; GAR                                                       Fan: lVl yrers, I". L              1 '9 5 3 - IS ,76


            PRIDIFESSIONA 1, ASSOCIATIONS

                      Advisory Board, l l ealtll Carc : Man 2 ;e, emi; nt, Clayton Slate l :' nivc1 sity
                   •   American Co Ifrc;e o f Healthca re• Exe c utive !.
                      Ameri ca n Nurses Association
                   ∎ Ans Counsel of Gek: alb (;ounty, Board Member
                   • Can v: 5teelc Pins Home for Childn:ri, F'ormcr 13 om cl I VIe• rn 'x i
                      GcorI; i a N ur:.c•s A ssm iation
                       Heald i C' <ire C:n rrom c Compli ance As i. ociatt (C :aU dda te)
                   ∎  Henn,~ 7 a 1 l fellowship,, IJnivc rsity of l:nire• cky
                      Hughes S pal d i riF ;C hildr e- n Nn: . pi ° al AdvisaQr Board
                       L_,s dc- rs h ip C' l a,y ror, & D ek:a1 l b
                   ∎ Ivl nrehouse Schoaf of Public I Hca l t6 Adv i sory No rJ
                      :i ou1 h ,wa_s t Ho spi ta l & M e; cl i ca) Cenur, 1'oi znc ,• D aan] M cni Ser




            Rel'e :reric.es .availa bfe: Upon r eques t
             Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 26 of 30




                                  ~C~.t;.G .~4_t~!~_r L_~?.~ Medial Al-I thoriz;ation]F orm




          COMES T1C}VJ Plaintiff, Gail M . Reese, who has filed a ( .ontiplaarit alleging a medical

ne~ ;Ti~ence ~~1~iira ag~iin :~t certain d~,i'E :nd.3»t;~. 'This c.ase ;is~ file ~ lf l I}If: S t,~ C E: C'o~ar1 i~FC~~~•innett Goiuit;~

and is sh,fie•ct, Gail PA . Reese as Admi.nistratriac af' t he Esta-,E : of Mildred Marshall vs . l3eve :rl;y Health

zuid Rehabilitation Service . ;,, Tnc, The Plaintiff'is filirg wiiih 1N; C .1miplaint :
                                                                                      the

following autha-iz,ation :

          u, Gail!M . Reese, hereby authorize each and every attorney cepiesenti»,g ea"ch and every
defendant named above to obtain and disclose protected health information contained in Medical
records to facilit .i?e the investigation, c:v,3lualion am-1 defense of the: claims mid allegations set loriin

in the C:ampla=sll wtfvirh pertain to NS+ldred tti4,3rshill, or, where applicable, the Plairifirs decedent
whose treatment is at issue ire the carnpIairzl_IWs awxiaixation includes eacl-[!sii,~hd(.-fc!ri!;t! .attc .rney's

right to discuss 'all-, care and Ireahmt :n't o!' Mi :!dcerl Marshall or where applicable, die plaintiff's

decedent, with all treating pVt}rs,ici;3"1 5 . ThyS aufhori: aiion provides for the release of any and all
jprotertE :d health in-Formation, except iiZfo :rlr;ati0n 11<<<t is considered privileged, mid aulhorizes the

release -of such information to each such defense <<tto=,y by any physician or re•z1thc .arre faciGiC~ by
which healthcare mcords of lvtildred !vl xsh .]] ire maintai ned .
                                                                                               ~~ f!



                                                                            ,~- ``.. ..            1.      . r U

                                                                                           -`~==`= --L- -U` 1---- -
                                                                                           IN2. Reese .Aci,3i'srustratrix of the
                                                                                             of'Mildred Marshall




                                                                 -l 4-
              Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 27 of 30



                           3.14 TFIE.               c
                                                   C)1JF ';r   w a m r e c:c urry
                                                             • c az. n.
                                               STATE OF GE(Y.RGIA



GA IL A9 . RF,E S E, FR E El : : .4 H ..N' ;3"DPd,
(and vkmmy WICKER as Surviving
Children and GAIL M .. Ft E ES F, as                               CIVIL ACTION
Admini. :st.ratrix of tree 'Estate of
M i .lcE :re! d 11 Et r S lz Ei1].,                                FILE NO : 07 C -- 1 :2 -39 1) - 3


17S . .


BEVERLY HEALTH A N D
REHABILITATION SERVICES, INC .,

                             Defendant . .




           'this is to certify that hzm : t:hi .s day Served all counsel
Of :re-cc>rci in the farE~gc>irig matter with a copy oE the foregoing
'Notice_ o f_ F,e zzio v ;a]__t x) _ 1;7ri :i b 3 ct _ ZS ta •t E_,s_ le i st•r3_4,t_~t_Ou :_t : b .~ dE:10 o,sis ti_ ;aq

in 1_r E. UnitE~cl 5j_at_e :3 M<<11 a copy of same in an erLVe .tC)] 7E! wit:h

adequate postage t Yl PIP_ 0 11 , a.dcl :re! .3 f i /?C1             c [ :s   :Ea 1 3 OW a :
                                        Pamela      S . S1=e p hent3o I1
                                        Stephen son Reynolds, LLC
                                        415-3-C, Flat 'c;hoals Parkway
                                        Suite 324
                                        Decatur, Georgia 30034

           F;+BEB]DE!c t. f Li 11,Y .s Libm i t : t eid this ,/,, day of .S E;]Dt: eni5 er , 2007 .




                                                        O1V ] ?01aL ,0 k':C. hW RAGE]



10338929
                 Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 28 of 30
. ~ '.




                                                Elav'J'A CC . Marst all
                                                Gecrgia Bar No . 471512
                                                ea tr.ic : i a r 9 . Peter,
                                                                     ;
                                                Georgia Bar No . 573650
                                                Christian J . Lang
                                                Georgia Bar No . 435437
     4000 SunTrust Plaza                        Attorneys Eo r Des E e nci a n •t
    30 .s Pe a cri t r. ee Street, r7 . E, .    Beverly Health and
    Atlanta, Georgia 30308-3243                 Rehabilitation Services, Inc .
      (4041 614-7400




    10338 4 29
                    Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 29 of 30
C




                                 r.1q mn:z UNITED STATES D3 :SD9'R7:C.T COURT
                                FCR THE IT-0FMi E FZN' :D ] : .57.':R .7:1'. 7.' OF G EIO FtG ]: . A.
                                             A'MAN' TIL I) I V I :i IOIy



    GAIL NI . RE.E'SE, E'RE ;DIA HIl1SOAl,,
    and TAMMY WICKER a ; :s .5u :rv .iv .ing
    C ; h i1 d r e r and GAIL 14 . F;1:. E . S E. a, :s                      CIVIL ACTION
    Ao rn i n i s t i. a tr _i x of the E's tc: te- Of
    P4 i .L c' j _ e d Ma r- s. rz a .L 1 ,,                                 FILE, NO :;

                                 F' .Lz i nt i :E f :s ,
    17S .,


    BEVERLY Y fiE,~~I~' p,t1L~
    FtEfiAF3ILI".:ATION SERVICES,.,
                                  INC

                                 Defendant .


                                               ~                         OF S 13 FN ]:I -ZE:

          'Ihi .s is t0 rep rt, if 'y t.ha. t I ti-aIr -e this day :see rvEacl caunSe .L in
    t:hE: foregoing matter with a copy of the fozEagoinc• ]?E, TI TIO'hf FOR
                      with z E: •xh i.b i t: .5 " A ." , "Fs••• , •,• C;'" and " 17"' -a t: t a c h '3d t tl E• I' E 1 C, ,
    t: 10 q~e t he'r ~Nr_Lth At.torri{=y' S) Affidavit, 11 EE f .icl , 3v .it of E'_Lli ri g in :itcitE,
    Court of Gwinnett County, and Notice of Filing by depositing in
    t. ]z E ! U n '_ t e d S ; 1_ c' 1_ E'S 14Ei i 1 a c . c p y a i°      s a me i n .3 n E' n Ir -e I- C F~ e w .L t h
    adequate postage ttiei-eon, addressed as fc)l] .,--rrs : :

                                           Rame ]. .s S .. f>te -o he rison
                                           .3 t en Yi eri s on Re : y ri a1 ds , L LC
                                           4153-12 Flat .13'h aa ] . s Parkway
                                           S •u i t E' 3 2 4

                                           (; C' i1 C7 :> B-I fa ]" 1 7 121 I I2 t -E f '].`5


                 1R e.s pe c: t i:'a ].1 y ;"a bIri t t: e ci t:'a i .s ----- day of 'September-, 2007 .




                                       r .5' : C oJ.A :C GUt E GW J 1;*C1L .L C);R7NG P.A CY'E'j'




    103383 9 3
                Case 1:07-cv-02323-BBM Document 1 Filed 09/24/07 Page 30 of 30




                                                                      Ef]LFrl{I MS S. F'AFI 1ELL ,                  mo?

                                                                                         .~




                                                                      David C . Marshall
                                                                      Georclia Bay Flo . 471512
                                                                      F' d t. : .1(:1 c3 M . F' E, t E. Y :i
                                                                      Ci t9 Ca : . Cf .L a Bar LEI (J .       57 ?- 155 C)

                                                                      Georgia B<az FIo . 9 :354?.7
                                                                      Rttar•ne•ys• fox efer.dants
                                                                      F~eyex .Ly F'e~a .Lth and
:3 03    1? E!i3 d 7 t :M P_   St .C Es 1 at. ,, 1Q . E" .             ; f? h i3 b .L I .L t ci t .L Ci Il   Services,       -In c, .
A t .L 2 I7 t c3 ,
          Ge o :r g .i <<               .3 C1 .3 Ci 13 - :3 2 .1 .•
(909) 61,1-•7900




1. C338 3G3
